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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  In Re:                                             : Bankruptcy No. 19-14860-elf
  John J McGinnis and Margaret M McGinnis            : Chapter 13
                      Debtors                        :
                                                     :
  Carvana, LLC                                       :
                        Movant                       :
                vs.                                  :
  John J McGinnis and Margaret M McGinnis            :
                        Debtor/Respondent            :
                and                                  :
  William C. Miller, Esquire                         :
                        Trustee/Respondent           :



    MOTION FOR RELIEF FROM AUTOMATIC STAY, UNDER 11 U.S.C. § 362


         Movant, Carvana, by its Attorneys, Hladik, Onorato & Federman, LLP, hereby
  requests relief from the Automatic Stay and leave to proceed with its State Court rights
  provided under the terms of the Vehicle loan contract.

         1.      Movant is Carvana, LLC (“Movant”).

          2.     John J McGinnis and Margaret M McGinnis (“Debtors”) filed a Petition
  for Relief under Chapter 13 of the Bankruptcy Code on August 1, 2019.

         3.      Debtor, John J McGinnis, purchased a 2017 Kia Sportage, VIN
  #KNDPMCAC9H7273812 (the “Vehicle”) pursuant to a Retail Installment Contract
  dated June 20, 2018 in the original principal amount of $19,542.37 (the “Contract”), a
  copy of which is attached hereto as Exhibit “A.”

         4.      William C. Miller, Esquire is the Trustee appointed by the Court.

          5.      Movant is the holder of a security interest in the aforesaid Vehicle, which
  interest has been perfected through notation on the Pennsylvania Certificate of Title. A
  true and correct copy of the Lien and Title Information is attached hereto as Exhibit "B.”

          6.     Movant has not received the post-petition contractual payments from
  August 20, 2019 through August 20, 2020 in the amount of $406.00 each, plus $15.00 in
  post-petition Late Charges, as well as legal fees and filing costs associated with the filing
  of this motion in the amount of $631.00, for a total of $3,082.00.
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         7.     The approximate value of the Vehicle as per the NADA Official Used Car
  Guide is $16,250.00 (Clean retail value).

        8.      The approximate total amount necessary to pay off the Vehicle as of
  August 10, 2020 is $16,700.57.



         WHEREFORE, Movant respectfully requests that this Court enter an Order:

          a.     Modifying the Automatic Stay under 11 U.S.C. § 362 of the Bankruptcy
  Code with respect to the Vehicle as to permit Movant to repossess on its Contract, sell the
  Vehicle and allow Movant or any other purchaser at auction to take legal or consensual
  action for enforcement of its right to possession of, or title to; and

         b.      Granting any other relief that this Court deems equitable and just.


                                                   Respectfully Submitted,

  Date: 08/25/2020                                 /s / Bradley J. Osborne, Esquire
                                                   Bradley J. Osborne, Esquire
                                                   Hladik, Onorato & Federman, LLP
                                                   Attorney I.D. # 312169
                                                   298 Wissahickon Avenue
                                                   North Wales, PA 19454
                                                   Phone 215-855-9521
                                                   Email: bosborne@hoflawgroup.com
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John J McGinnis and Margaret M McGinnis          : Chapter 13
                    Debtors                      :
                                                 :
Carvana, LLC                                     :
                      Movant                     :
              vs.                                :
John J McGinnis and Margaret M McGinnis          :
                      Debtor/Respondent          :
              and                                :
William C. Miller, Esquire                       :
                      Trustee/Respondent         :

                      CERTIFICATION OF SERVICE OF MOTION,
                      RESPONSE DEADLINE AND HEARING DATE

            I, Bradley J. Osborne, Esq., attorney for Movant, Carvana, LLC, hereby certify that I
served a true and correct copy of the Motion for Relief from Automatic Stay and Notice of
Motion, Response Deadline and Hearing Date, by United States Mail, first class, postage
prepaid, or Electronic Mail on 08/25/2020 upon the following:

Brad J. Sadek, Esquire                      John J McGinnis
Via ECF                                     Margaret M McGinnis
Attorney for Debtors                        3338 Ashville Street
                                            Philadelphia, PA 19136
William C. Miller, Esquire                  Via First Class Mail
VIA ECF                                     Debtors
Trustee


Dated: 08/25/2020                               /s / Bradley J. Osborne, Esquire
                                                Bradley J. Osborne, Esquire
                                                Hladik, Onorato & Federman, LLP
                                                Attorney I.D. # 312169
                                                298 Wissahickon Avenue
                                                North Wales, PA 19454
                                                Phone 215-855-9521
                                                Email: bosborne@hoflawgroup.com
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                               EXHIBIT B
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